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                  United States Court of Appeals
                              For the Eighth Circuit
                          ___________________________

                                  No. 20-3727
                          ___________________________

                               United States of America

                          lllllllllllllllllllllPlaintiff - Appellee

                                             v.

                 Albert Kelly Price, also known as Anthony Sutton

                        lllllllllllllllllllllDefendant - Appellant
                                        ____________

                     Appeal from United States District Court
                     for the Southern District of Iowa - Central
                                   ____________

                             Submitted: August 17, 2021
                               Filed: August 23, 2021
                                    [Unpublished]
                                   ____________

Before SHEPHERD, GRASZ, and KOBES, Circuit Judges.
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PER CURIAM.

       Albert Price appeals the sentence imposed by the district court1 after he pleaded
guilty to sex trafficking children. His counsel has moved for leave to withdraw, and

      1
      The Honorable Stephanie M. Rose, United States District Judge for the
Southern District of Iowa.



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has filed a brief under Anders v. California, 386 U.S. 738 (1967), challenging his
sentence.

      Upon careful review, we conclude that district court correctly calculated Price’s
offense level. See United States v. Davenport, 910 F.3d 1076, 1081-82 (8th Cir.
2018) (factual findings are reviewed for clear error, and application of Guidelines are
reviewed de novo; application of sentencing enhancements must be supported by
preponderance of evidence). Specifically, the record supported the enhancements for
undue influence, see U.S.S.G. § 2G1.3(b)(2)(B); for physical restraint, see U.S.S.G.
§ 3A1.3; and for being a repeat sex offender, see U.S.S.G. §4B1.5(b)(1).

       We also conclude that the district court did not impose a substantively
unreasonable sentence, as the court properly considered the factors listed in 18 U.S.C.
§ 3553(a) and did not err in weighing the relevant factors. See United States v.
Feemster, 572 F.3d 455, 461-62 (8th Cir. 2009) (sentences are reviewed for
substantive reasonableness under deferential abuse of discretion standard; abuse of
discretion occurs when court fails to consider relevant factor, gives significant weight
to improper or irrelevant factor, or commits clear error of judgment in weighing
appropriate factors). Further, the court imposed a sentence below the Guidelines
range. See United States v. McCauley, 715 F.3d 1119, 1127 (8th Cir. 2013) (noting
that when district court has varied below Guidelines range, it is “nearly
inconceivable” that court abused its discretion in not varying downward further).

      We have also independently reviewed the record under Penson v. Ohio, 488
U.S. 75 (1988), and we find no non-frivolous issues for appeal. Accordingly, we
affirm the judgment, and we grant counsel’s motion to withdraw.
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